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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )
                                                     )            8:05CR26
                      Plaintiff,                     )
                                                     )
       vs.                                           )           REPORT AND
                                                     )
IGNACIO CARRERA-MARINO,                              )       RECOMMENDATION
                                                     )
                      Defendant.                     )

       On April 28, 2005, defendant Ignacio Carrera-Marino (Carrera-Marino), together with
his counsel, Michael L. Smart, appeared before the undersigned magistrate judge and was
advised of the charges, the penalties and the right to appear before a United States District
Judge. Marcia Rabinovich, a certified interpreter in the Spanish language, served as the
interpreter by remote telephone hook-up. After orally consenting to proceed before a
magistrate judge, Carrera-Marino entered a plea of guilty to Count I of the Indictment.
       After being sworn, Carrera-Marino was orally examined by the undersigned magistrate
judge in open court as required by Federal Rule of Criminal Procedure 11. Carrera-Marino
also was given the advice required by that Rule. Finally, Carrera-Marino was given a full
opportunity to address the court and ask questions.
       Counsel for the government and counsel for Carrera-Marino were given the opportunity
to suggest additional questions by the court. Moreover, both counsel orally certified that they
were of the opinion that the plea was knowing, intelligent and voluntary, and that there was a
factual basis for Carrera-Marino’s plea of guilty to Count I of the Indictment.
       Therefore, I find and conclude that: (1) the plea is knowing, intelligent, and voluntary; (2)
there is a factual basis for the plea; (3) the provisions of Rule 11 and any other provisions of
the law governing the submission of guilty pleas have been complied with; (4) a petition to
enter a plea of guilty was completed by Carrera-Marino, Carrera-Marino’s counsel and
counsel for the government, and such petition was placed in the court file (Filing No. 69); (5)
the plea agreement is in writing and is filed in the court file (Filing No. 70); (6) there were no
other agreements or stipulations other than as contained in the written plea agreement.
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        IT IS RECOMMENDED TO JUDGE LAURIE SMITH CAMP that:
        1.     She accept the guilty plea and find the defendant, Ignacio Carrera-Marino, guilty
of the crime set forth in Count I of the Indictment to which Carrera-Marino tendered a guilty
plea;
        2.     She not accept the written plea agreement at this time as it contains a provision
under Fed. R. Crim. P. 11(c)(1)(C), but rather she consider the agreement at the time of
sentencing.


                                          ADMONITION
        Pursuant to NECrimR 57.3 any objection to this Report and Recommendation shall be
filed with the Clerk of the Court within ten (10) days after being served with a copy of this
Report and Recommendation. Failure to timely object may constitute a waiver of any such
objection. The brief in support of any objection shall be filed at the time of filing such objection.
Failure to file a brief in support of any objection may be deemed an abandonment of the
objection.
        DATED this 28th day of April, 2005.
                                                      BY THE COURT:
                                                      s/Thomas D. Thalken
                                                      United States Magistrate Judge




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